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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                 WESTERN DIVISION



Christina Tosseth, individually and as next            CASE NO. 1-18-cv-00230-DLH.CSM
best friend of Jaide Tosseth, deceased,

                       Plaintiff,

       v.

Remington Arms Company, LLC and
Beretta U.S.A. Corp.,


                       Defendants.



       Plaintiff’s Request to Modify ¶3 of the Order Amending Scheduling
        Order (Doc. 27) and Plaintiff’s Request to Extend Response Time
              to Beretta’s Motion for Summary Judgment (Doc. 36)



¶1     Comes now the undersigned counsel on behalf of the plaintiff and requests a status

conference with the Court and counsel for Beretta for the purposes of Plaintiff’s Request to

Modify ¶3 of the Order Amending Scheduling Order (Doc. 27) and Plaintiff’s Request to Extend

Response Time to Beretta’s Motion for Summary Judgment (Doc. 36).

¶2     The plaintiff’s request is necessitated as a result of the following facts.

¶3     On January 24th, 2020 Beretta placed in the United States mail its expert disclosures

including the liability reports of Michael Shain and Lucien Haag. The undersigned counsel for

the plaintiff received these disclosures either on January 27th or 28th, 2020.



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¶4      On February 10th, 2020 Beretta took the discovery deposition of plaintiff’s expert in

Denver, CO. At that deposition the undersigned counsel advised that he intended to take the

discovery deposition of Beretta’s experts Shain and Haag. Counsel for Beretta suggested that the

parties hold off on the Shain and Haag depositions and rather explore the possibility of a settling

the matter. Counsel for Beretta requested a settlement demand from plaintiff.

¶5      On February 12th, 2020 the undersigned counsel submitted a settlement demand via email

to counsel for Beretta.

¶6      Additionally, on February 12th, 2020 the undersigned counsel’s staff reached out to

counsel for Beretta’s staff requesting dates in the end of February / beginning of March for the

depositions of Shain and Haig.

¶7      Between February 12th, 2020 and March 6th, 2020 email discussions went back and forth

the staff of both parties working out the schedule for the depositions of Shain and Haig. The

communication was typical of two (2) offices attempting to coordinate between the schedules of

the expert witnesses and counsel. The communication was consistent and appropriate. The

deposition dates offered by Beretta’s counsel during this time period included dates in February,

March and April of 2020.

¶8      This email exchange also included a March 5th, 2020 email in which staff for the counsel

of Beretta offered deposition dates for Haag of April 4th, 7th, 20th and 22nd, 2020. The same email

also offered deposition dates for Shain of April 3rd, 8th, 9th, 15th, 16th and 17th, 2020.

¶9      Staff for the undersigned counsel for the plaintiff replied to the above March 5th, 2020

email on March 6th, 2020 and advised that the April 22nd, 2020 date for the Haag deposition

would work. Also the same March 6th, 2020 email reply advised that it was likely the April 15th,

2020 date would work given some attempts to free up the undersigned’s trial calendar.

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¶10    From that point forward the undersigned counsel was operating under the understanding

that the Haag deposition would be occurring April 22nd, 2020 and that the Shain deposition

would be set on April 15th, 2020 upon confirmation of some changes to the undersigned trial

calendar.

¶11    Then COVID-19 hit.

¶12    On March 13th, 2020 Beretta filed its Motion for Summary Judgment (Doc. 36).

¶13    The undersigned’s had three (3) jury trials continued by the respective COVID-19 state

court orders freeing up a significant amount of time from March 30th – April 30th, 2020. So on

March 30th, 2020 the undersigned and the undersigned’s staff reached out to counsel for Beretta

inquiring as to whether the Haag and Shain depositions could be conducted by video conference

to accommodate both safety and timing given the COVID-19 issues.

¶14    On March 31, 2020 the undersigned received a letter from counsel for Beretta revoking

the agreement to conduct the deposition of Haag as scheduled on April 22, 2020 and revoking

the agreement to schedule the Shain deposition in April. (See above fact discussion).

¶15    This was the first time in any of these discussions (from February 12th, 2020 until March

31, 2020) regarding the scheduling of the depositions of Shain and Haag that counsel for Beretta

cited ¶3 of the Order Amending Scheduling Order (Doc. 27) and asserted that because the

undersigned counsel for the plaintiff had not requested an extension to the March 1, 2020

deadline counsel for Beretta was revoking the prior agreements.

¶16    It is important to remember that counsel for Beretta was offering the dates for the Haag

and Shain depositions in March and April of 2020.

¶17    Beretta’s position runs contrary to both the law and appropriate conduct of counsel.



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¶18    If the Court would like a more detailed fact rendition or copies to the email chains

supporting the above, the undersigned will provide.

¶19    The undersigned needs the depositions of Shain and Haag to respond to Beretta’s motion

for summary judgment. The undersigned requests that the Court modify the statutory response

time so that the undersigned has seven (7) days from the receipt the deposition transcripts of

Shain and Haag to submit the response.

¶20    Given the above, the undersigned counsel respectfully requests the following:

           a. That the Court modify ¶3 of the Order Amending Scheduling Order (Doc. 27) to

               allow the undersigned to take the depositions of Shain and Haag; and

           b. That the Court and Plaintiff’s Request to Extend Response Time to Beretta’s

               Motion for Summary Judgment (Doc. 36) so that the undersigned has seven (7)

               days from the receipt the deposition transcripts of Shain and Haag to submit the

               response.

                              Dated this 2nd day of April, 2020.


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                                              ATTORNEY FOR PLAINTIFF




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